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  UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

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                                No. 17-1925
                           ____________________

    SHAWN WILMOTH, TRENTON POOL, SIGNATURE MASTER, INC.,
                BENEZET CONSULTING LLC

                             Plaintiffs-Appellants,

                                       v.

KIM GUADAGNO, in her official capacity as the Secretary of State of New Jersey

                             Defendant-Appellee.

         __________________________________________________
                    Appeal from the Final Order of the
         United States District Court for the District of New Jersey
         Dated March 24, 2017, Civil Action No. 16-cv-01854 (PGS)
         __________________________________________________
              ________________________________________

                    APPELLANTS’ OPENING BRIEF
                                  &
                        APPENDIX – VOLUME I
                (APPENDIX PAGES A-1 THROUGH A-31)
               ________________________________________


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                                                                       Exhibit G
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political information and ideas by dramatically reducing the number of available

petition circulators.

        Contrary to the lower court’s justifications for granting the Defendant-

Appellee’s motion to dismiss, it is constitutionally irrelevant how many voters

there are in the State of New Jersey available to circulate election petitions because

the only number that matter for purposes of triggering strict scrutiny analysis is

that the challenged restrictions drastically reduce the number of available petition

circulators from over 330 million to just 1 million. Once strict scrutiny analysis if

triggered, the State of New Jersey cannot prove that the challenged restrictions are

narrowly tailored to advance a compelling governmental interest because

Plaintiffs-Appellants have specifically plead that they are willing to submit to the

jurisdiction of the State of New Jersey for the purpose of investigating and

prosecution of any allegation of election petition fraud, which has been recognized

by the courts as a less restrictive means of advancing the state’s legitimate interest

in policing election petition fraud than broad restrictions placed on out-of-state

circulators challenged in this appeal. Accordingly, the challenged statute cannot

survive strict scrutiny analysis and Plaintiffs-Appellants’ complaint not only state

valid constitutional claims sufficient to survive a motion to dismiss, but prevail on

the merits on a motion for summary judgment after the close of discovery in this

case.


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                                                                            Exhibit G
